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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION


IN RE:                                                CASE NO.: 23-16706-PDR
                                                      CHAPTER 13
RALPH LEVI SANDERS, JR.

                  Debtor.
____________________________________/

                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the Re-Notice of Hearing (Doc. No. 23) was

served by CM/ECF notice and first class mail this 19th day of September 2023.

                                                   /s/Gavin N. Stewart
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VIA CM/ECF NOTICE
Robin R. Weiner, Chapter 13 Trustee
Post Office Box 559007
Fort Lauderdale, FL 33355

U.S. Trustee
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51 S.W. 1st Ave.
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